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UNITED STATES DISTRICT COURT

 

DISTRICT OF NEW JERSEY
UNITED STATES OF AMERICA ) Hon. John Michael Vazquez
)
) Crim No. 18-379 (JMV-2)
vs )
) Letter
GERMAINE H. KING ) Order for Extension of Voluntary
) Surrender Date
June 3, 2020

Dear Honorable Judge Vazquez:

I, defendant Germaine King, am submitting this letter out of concern. On May 26, 2020 I filed a
motion for an extension of the voluntary surrender date due to the COVID-19 pandemic. On
5/27/2020, Your Honor ruled that responses shall be submitted by 6/1/2020 and replies shall be
due by 6/4/2020 (document #183). On 6/1/2020, the Government submitted a response. Later on
6/1/2020, Your Honored ruled that the surrender date has been denied (document #185) which
was prior to giving me an opportunity to respond to the Governments opposition. I emailed Ms.
Joyce Malliet this morning 6/3 to discuss the matter and I have not received a response. I also
called the judges chamber and left a voicemail. I would like to submit my response to the
government’s opposition and be awarded an opportunity to motion the court for a

reconsideration.
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I am aware that J need to start my sentence in a timely manner. I am merely asking for an
extension due to the dangerous COVID-19 illness spreading rapidly across New Jersey, and the
federal prison system. I am hoping that the court can honor an extension of the voluntary
surrender date of June 9" to a modest and precautionary date. I originally requested an
extension until September 9", 2020, however if that date cannot be granted I would appreciate at
least a 30 day extension to allow my daughter to finish school and to finalize some arrangements
that have been delayed due certain businesses closed due to the New Jersey State Wide order

which did not allow certain businesses to operate.
I would appreciate if you would consider this request of at least 30 days. If the court would like
me to submit a formal motion I am prepared to submit my response. Please feel free to contact

me at 973-280-5651 or via email to discuss to matter.

I thank you in advance for looking into this situation.

Respectfully Submitted,
wy
LTE A

Germaine King
